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Andrea S. Carlise (State Bar No. 151648)
Clariza C. Garcia (State Bar No. 189918)
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cgarcia@pwe-law.com

Attorneys for Defendants
COUNTY OF DEL NORTE and
RICHARD GRIFFIN

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

MICHAEL RIESE, an individual, Case No.: CV 12-3723 WHO

Plaintiff, DECLARATION OF CLARIZA GARCIA IN
vs. SUPPORT OF DEFENDANTS JON
ALEXANDER AND RICHARD GRIFFIN’S

COUNTY OF DEL NORTE; CRESCENT REPLY TO OPPOSITION TO MOTION FOR

CITY; CRESCENT CITY POLICE
DEPARTMENT; COUNTY OF DEL NORTE
SHERIFF’S DEPARTMENT; JON
ALEXANDER; BRIAN NEWMAN;
RICHARD GRIFFIN; BOB BARBER; KEITH
DOYLE; DOUG PLACK, and DOES 1-10,

inclusive,

Defendants.

SANCTIONS FOR FAILURE TO PAY
COURT ORDERED ATTORNEYS’ FEES

DATE: March 5, 2014

TIME: 2:00 p.m.
DEPT: 2, 17th Floor

Complaint Filed: July 16, 2012

I, Clariza C. Garcia, declare:

1. Iam an attorney, duly authorized to practice law before all of the courts of the State of
California and the Northern District of California. I am an associate of the law firm of Patton, Wolan
& Carlise, LLP, attorneys of record herein for Defendant Richard Griffin. I make this declaration

from my personal knowledge and if called to testify as a witness to the matters stated in this

DECLARATION OF CLARIZA GARCIA IN SUPPORT OF DEFENDANTS JON
ALEXANDER AND RICHARD GRIFFIN’S REPLY TO OPPOSITION TO MOTION

FOR SANCTIONS FOR FAILURE TO PAY COURT ORDERED ATTORNEYS’ FEES
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CUA aA FON & SF Ce UAaA REBAR ES

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declaration I could competently do so.

2. On November 13, 2013, I appeared at the hearing on Attorney Brian Claypool’s Motion to
Withdraw as Counsel for Plaintiff Michael Riese. Mr. Mordechai Pelta was present in the gallery. I
heard Plaintiff and Mr. Pelta represent to the Court that Mr. Pelta was assisting Plaintiff in obtaining
new counsel. Mr. Pelta, Plaintiff and Mr. Claypool did not inform the Court or the parties that Mr.
Pelta was one of Plaintiff’s attorneys and was working at Mr. Claypool’s law firm.

3. On February 6, 2014, Mr. Pelta sent me an e-mail wherein he informed me that he was “one of
Plaintiff's attorneys as I have been since 2011.” Attached to this declaration as Exhibit “A” is a true
and correct copy of Mr. Pelta’s e-mail to me and the other parties.

4. Mr. Pelta, as a sole practitioner, represented Plaintiff in the Government Tort Claim filed on
June 1, 2012 with Del Norte County. Attached to this declaration as Exhibit “B” is a true and correct
copy of the June 1, 2012 Tort Claim.

5. My hourly rate is $190.00. Defendant Richard Griffin has incurred additional attorneys’ fees
in the amount of $1,406.00 to prepare this Reply to Plaintiff's Opposition to Motion for Sanctions.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that this declaration was executed on February 27, 2014 at Oakland,

California.

/ Ae C. GARCIA fe

DECLARATION OF CLARIZA GARCIA IN SUPPORT OF DEFENDANTS JON

ALEXANDER AND RICHARD GRIFFIN’S REPLY TO OPPOSITION TO MOTION

FOR SANCTIONS FOR FAILURE TO PAY COURT ORDERED ATTORNEYS’ FEES CV-12-03723-WHO
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EXHIBIT A

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-Clariza Garcia . Dor

From: ‘Mordechai Pelta <mpelta@bergslaw.com>

Sent: ’ Thursday, February 06, 2014. 2:54 PM

To: . _ Clariza Garcia

Ce: ‘ howard churchill; rhunt@hunt- -jeppson. com; Andrea S. Carlise; Ann Asiano

(AAsiano@professionals- -law.com); Steven C. Wolan; jgreen@professionals- -law. com:
schristensen@hunt-jeppson.com; Michele Stater:
‘Subject: * .. Re: Riese v. Del Norte - Response to your faxed letter

Dear Ms. Garcia:

Your preference i is noted but your firm. will be dealing with me as is appropriate henceforth. Mr.
Churchill and I are working the case together. with Mr. Berg.

T remain one of the plaintiff's attorneys as I have been since 2011. Your insistence on deposing me
builds our record for sanctions should you proceed to depose me.

You will not be deposing me. J ust because Mr. Claypool without my authorization.-- and specifically
against my instruction -- surprisingly put down a fellow attorney as a potential witness does not give
you any good faith basis to depose one of Mr. Riese's attorneys. All information I have about the case
‘ comes from my role as an attorney and investigating the facts for the client. Mr. Claypool putting me
down‘on a disclosure was clearly incorrect and frankly a mistake. We will be seeking to have this

corrected.

_ Mr. Churchill can speak with you February 10, 2014 at 10AM, F eb. 12, 2014 between 9AM and Noon,
and Feb. 13, 2014 between 9AM ; and 4PM. . . .

On Thu, Feb 6, 2014 at 2:32 PM, Clariza Garcia <cgarcia@pwe-law.com> wrote: _

Mr. Pelta,

Unfortunately, tomorrow is not available for o our office as the partner on'this case is hot available. As we stated i in our
"letter, we request available dates for the week of February 10, 2014. oO

You and | never discussed dates for any of the depositions that are found i in your: notices. ‘We discussed the depositions
dates for you, Mr. Newman and Plaintiff. Dates that-your office has yet to provide despite at least five phone calls with
your office {three with you and two'with Mr. Churchill). As | discussed with Mr. Churchill on February 3, 2014, if no new’
. dates are agreed upon, Plaintiff's deposition will go forward on February 26, 2014, here at our offices. Mr. Churchill
stated Mr. Riese was aware that his deposition had been noticed but he had yet to speak with Mr. Riese about a possible.
alternate date, and he wanted to confirm that you were indeed disclosed as a witness in Plaintiff’s Initial

Disclosures. However, | have not heard from him.

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You will also recall that you agreed that Plaintiff will appear in Oakland if the parties stipulate to a continuance of the
trial and related dates. Such a stipulation has been signed by the parties and submitted to the Court.

With regards to the depositions Plaintiff wishes to take, you only indicated a desire to depose Ms. Katherine Micks with
no specific date because according to you, she is “an important source of information for the Plaintiff’s case.” In fact
you claimed that you would not depose Sergeant Griffin, and yet you include him in: your. first notice. | would never have
agreed to you setting the approximately 18 depositions at issue; for the very reasons set forth i in our letter.

Furthermore, Mr. Hunt is not our office’s “co-counsel.”

Nevertheless, we are also confident that these matters can be worked out. Consistent with your request, we preferto . ~
‘communicate with Mr. Churchill regarding these matters and ask when he is available next week to (1) finally resolve the
matter of the three original deposition dates requested (Pelta, Newman and Riese) and (2) meet and confer regarding
Plaintiff's two deposition notices addressed in my letter dated February 6, 2014. .

Sincerely,

Clariza Garcia

Clariza C. Garcia

Patton 4 Wolan + Carlise LLP
~ Lake Merritt Plaza

1999 Harrison, Suite 1350.

Oakland, CA 94612-3582

-Tel: 510-987-7500, ext. 7521
Dir: 510-588-7521

Fax: 510-987-7575

Email: cgarcia@pwc-law.com

www.pwe-law.com

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copying, distribution or use of this e-mail or any attachment is prohibited. If you have received this e-mail in error, please notify us immediately and delete this copy

. from your system.

From: Mordechai Pelta [mailto: mpelta@bergslaw.com]
Sent: Thursday, February: 06, 2014 1: 59 PM

To: Clariza Garcia

Cc: howard churchill; rhunt@hunt-jeppson. com |
Subject: Riese v. Del Norte - Response to your f faxed letter

Dear Ms. Garcia:

‘Mr. Churchill reviewed your faxed letter you cc ‘ed to your co- -counsel at Hunt & J eppson dated today
S concerning the deposition notice.

There was no failure to meet and confer. In fact, I spoke with you last week two times about _
. depositions we planned to have then have at least one email on the topic to you.

You even discussed it with Mr. Churchill Your comments describing no meeting. and conferring on
the subject are therefore perplexing to us.

_ However, we would still like to address all of thei issues with you or your: firm tomorrow by
phone. Can we say around Noon?

Please let-us s know what time works for your: firm to discuss the issues you raised because la am.
confident we can work this out. 2

. Sincerely,

Mordechai "Mare" Pelta

Berg & Associates

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-5000 Becheilli Lane

Redding, CA 96602
—(§30)223-5100

- This email and accompanying documents are covered by the Electronic Communications Privacy Act, 18 ULS,C. 2510-
2521. The information contained here is confidential and may be protected by the attorney-client privilege and Evid. Code
 -§§952, 953, Probate Code §12252, and other statutes. The information is. intended only for the use of the individual or
~ entity to which it is addressed. If you are not the intended recipient, you are hereby. notified that any use, dissemination,

_ distribution or copying of this communication is strictly prohibited. If you received this communication in error, please —

- notify this office.immediately by replying to this message and then delete it from your computer. This communication is

not intended to be used, and it cannot be used, for the purpose of avoiding tax liabilities and/or penalties that may be
' imposed on the taxpayer or for any other illegal purpose. , OF uo

Mordechai "Marc" Pelta
Berg & Associates. ©
5000 Bechelli Lane
Redding, CA 96602
(530)223-5100°

This email and accompanying documents are covered by the Electronic Communications Privacy Act, 18 U.S.C. 2510-

2521. The information contained here is confidential and may be protected by the attorney-client privilege and Evid. Code
'§§952, 953, Probate Code §12252, and other statutes. The information is intended only for the use of the individual or

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distribution or copying of this communication is strictly prohibited. [f you received this communication in error, please
_hotify this office immediately by replying to this message and then delete it from your computer. This communication is
_not intended fo be used, and It cannot be used, for the purpose of avoiding tax liabilities and/or penalties that may be

imposed on the taxpayer or for any other illegal purpose.

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EXHIBIT B

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‘Mordechai Pelta, SBN 253315
Pelta Law

| 236 West Portal Avenue, #160
| San Francisco, CA 94127
Phone: (415)963-1152

-NOTICE.OF CLAIM AGAINST PUBLIC ENTITY
AND/OR PUBLIC EMPLOYEES:
(Gov't CODE 810— 996.6]

1, CLAIMANT'S NAME: Michael D. Riese
2. LOCATION TO- SEND NOTICES: Mordechai Pelta, SBN 253315, Pelta Law

236 West Portal Avenue, #160, San Francisco, CA 94127, Phone: (415)963-1152 .

3. DATE OF DAMAGE AND/OR INJURY: October 31, 2011 — June 1, 2012.

4, LOCATION OF DAMAGE/INJURY: Del Norte County, California, including but not
limited to the Courthouse at 450 H Street, Crescent City, CA 95531, 131 Olivine Wey, Crescent

City, CA 95531, and other relevant sites within the County.

5. AMOUNT OF CLAIM: Tn excess s of $25, 000...

| 6. JURISDICTION: Federal and/or Supetior Court. .

7. CIRCUMSTANCES THAT LED TO DAMAGES CLAIMED WITH NAMES OF THE
PUBLIC AGENCIES AND/OR EMPLOYEES, IF KNOWN, WHO CAUSED SAID

DAMAGES TO CLAIMANT:
Michael Riese (Mr. Riese) is the former two-term elected District Attorney of Del.

Norte County who- “was defeated i in a June 2010 election. primary as s strategized by the erstwhile,

present District Attomey, Jon 1 Alexander (Alexander) who i is being prosecuted by the State Bar

|| for violations for unethical conduct and he is being investigated by the FBI for violating federal

Taw. See Exhibit A. .
From the time Mr. Riese fired Alexander as aDeputy District Attorney in June 2005, after

amereS months on the job by determining he was not ot longer ‘able to remain employed : as such

while being i in probation, Alexander has mounted numerous false: ad homincm attacks against :

1
NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES

criminally prosecute Mr. Riese and quite. unsuccessfully. See Exhibit B B..

. written to him in September. 2009 by the former CAO for the County, J eanine Galatioto. It was

released at the filing deadline for the DA election campaign.

large number of so-called anonymous calls to Del Norte. County Sheriff's Office dispatch center

‘| alleging Mr. Riese was driving erratically or-under the influence. These calls were, In fact not

- falsely criminally prosecuted for: allegedly stealing DA-office equipment that Alexander dalsely.
q. claimed was stolen when Mr. Riese moved out in early J anuary 2011 from the DA's Office.

. Alexander roxpended DA office resources by using his own staff to investigate his personally

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Mr. Riese, cuiminating in the F ebruary 2012 acquittal that resulted in at Alexander-led effort to —

The persotial attacks by Alexander that are ongoing through the present date because of
Alexander’s unrelenting campaign to defame and ruin Mr. Riese as much as Alexander can, in
any way he can — ‘including biazenly abusing his intoxicating newfound authority as the
erstwhile DA of Del Norte County -- started. during the 2006 District Attomey election, seemed
to wane over ‘time and then emerged i in a, stark, vicious and personal manner unlike any seen. in
the County’ s history during the 201 0 DA election campaign; when Alexander made it even more
personal against Mr: Riese with unrelenting attacks both verbally and i in written form that
continue unabated. It was later learned that Alexander! had a key role in distributing from Mr. .

Riese’ s leaked personnel file an. unsubstantiated accusation of using drugs in the workplace

This personal campaign with the benefit of hindsight took many y formas, one of its most

sinister — although not to be outdone by another soon. to follow; ‘was the making of an unusually

anonymous becanse they can be traced back tothe caller either by voice (because the County-i igenf oe

small and the dispiatch personnel recognize Alexander’ s voice or Qt that of his retinue of consistent . -

callers) or by phone ‘umber. The cals even come in when Me. Riese is not in town.

Alexander ited to have Mr. Riese and his friends Mordechai Pelta and Scott Feller

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‘NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES:

| of a drug or. drugs, child endéngerment and public intoxication. See Exhibit C. The. chars

| medical issue and not a criminal one that 1

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| motivated delusion against Mr. Riese and his friends, Alexander falsely. claimed that Pelia and |

Feller. assisted Mr, Riese in stealing: a safe that was in the DA’s Office. The safe was given to

Mr. Riese by former DA Bill Comeli and was given by Mr. Riese +o the Sheriff's Office. The

'| fact was that Pelta did not move the safe. He had four spinal operations by that date and could

not even assist i in’ moving such an object even if he had ‘wanted. to. And there was no proof he

. assisted i in moving it because it does not exist except in Alexander’ s imagination. “Nevertheless,

crimes that they did not commit, Alexander even accused Mr. Riese of stealing some wooden in

and ot out boxes for the desk i in Alexander’ s office, a desk previously used by Mr. Riese. The

value of said boxes ‘was about $20 each and there were two of them. “That accusation also went

the stage for the subsequent egregious conduct described here that is ongoing and unrelenting in

a campaign to harass Mr. Riese into leaving the County where he has lived for more than 20.

years.

The more sinister form of this campaign evolved into a criminal prosecution in Del Norte

County Superior Court Case Number CRTR1 13585 that was filed on or about i in Court by DA

office staff on October 31, 2011. Mr. Riese Was. 2s falsely charged with driving under the influence |

were false because they lacked, a basis in fact to. the fhe: point that they even. lacked probable cause.to

Police: Officers J ustin Gill and Yen Lo deemed i ita

arrest him which is wh the Crescent City

j at at. Safewa in Crescent City on August 22, 2010

whien Mr. Riese was in medical distress after shopping at the location for about en hour and a

_ (half. See Exhibit C,

During the trial, the following equally nefarious details emerged:

°
3

. Alexander persisted i in n his delusion of trying to get Mr. Riese and his friends: Pelta and Feller for

-wnsubstantiated to date. But the expenditure of DA resources in this delusion of Alexander’ S sets |.

’ NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES -

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_ -Alexandet made a secret agreement-between ‘him, Deputy Attomey Brian

Newman, Detective Keith Doyle (Doyle) of the CCPD, and Mr. Riese’s ex-
wife, Stephanie Riese a/k/a Stephanie Riese-Jacobs that in- exchange for not

prosecuting her for at least 6 violations of California law by refusing toe tum

over the two minor daughters she has with Mr. Riese between October 2011

and February 2012 that she would Provide favorable, tailored testimony for the

prosecution against Mr. Riese at the trial in said. criminal case. But for Mr.

Cochran’s cross-examination skills this secret agreement would have

remained sir essed ftom the Court and the jury in said case.

Deputy District Attorney Lisa Specchio instructed local law einforcement based
upon the wished of Alexander to not arrest or prosecute Stephanie Riese. for |

her intentional violation of the lawful custody order of her minor children with
Mr. Riese between November 2011 and February 2012. Said instructions have

not been rescinded as far as Mr. Riese knows.

The sole occasion that the County” s Sheriff's Office chose to enforce the

. . lawful custody order w was on November 18, 2011 when Mr. Riese went with

. Deputy Sheriff Enrique Ortega to a location i in Crescent City where Stephanie

Riese was told by Ortega either she comply with the court order or be arrested

oo forthwith. She decided to comp Ly on only. that occasion between October 201 1

and February 20 12. After that évent, the Sheriff's Office refused to respond to

Mr. Riese’s lens for help to enforce the custody order and Kissed it off to the

CCPD., which also did not enforce the custody order because of the DA’s

Office’s instruction: ‘via DDA Specchio. See Exhibit K

4.

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4, ‘There was approximately 100. minutes of exculpatory and exonerating video
footage that conveniently went missing after Alexander was the first person on
the scene and obtained said original video footage — — that Safeway did: not

retain a duplicate copy of — atter Officers Lo and Gill determined Mr. Riese —

could g0 to the hospital because there was 10 probable o: cause to arrest for any

crime. The missing video was reviewed by Safeway employees and it showed

Mr. Riese “stone cold sober” for about the first 100 minutes till he went into

medical distress. This exoulpstory. exonerating evidence ‘was suppressed from
the jury and the Court for the pendency of the prosecution for said case. Mr.
Riese’s defense team comprising Mr. Cochran and Mr. Pelta discovered this

from the police reports and conversations with Safeway employees including

by not limited to store manager Brian Ridgely, among others.

5. Alexander was the motivating factor in the prosecution of said case against Mtr
Riese.
6. Alexander met on a weekly basis with DAG Newman per Assistant DA

‘Katherine Micks. See Exhibit D.

7 ‘Alexander met with Chief Plack and Det. Doyle to ensure prosecution of Mr.
. Riese.
8 Alexander made it clear that if the Attomey General did not prosecute Mr

“Riese that he would do it himself despite there being a conflict of interest. See

: Exhibit E.

9 Alexander’: 's role in the case in and of itself amounted to misleading the Court . o

because many y statements by DAG Newman were made to the Court @ e. - Hon.

Judge Anthony Edwards) acknowledging that there was a conflict of interest _

5

NOTICE OF: CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES

peovecaiian that had the invisible

Case 3:12-cv-03723-WHO Document 111-1 Filed 02/27/14 Page 14 of 20

and that Alexander had and would have nothing to do with the case. This was

alie. See Exhibit D.

During the trial, Mr. Riese uncovered for the jury that Doyle and Stephanie Riese »
concocted.a scheme to have as maty people she could get call into 911 whenever Mr. Riése was .
seen nn driving in Del Norte in order to force him into drug rehabilitation. This was hidden from

the j jury and Judge on direct examination till Mr. Riese brought it out from cross-examining

Doyle based upon a transcript he provided ofa conversation he had with Stephanie Riese. See

Exhibit F. They agreed that it would take a conviction to force Mr. Riese into rehabilitation and

it appears from what occurred that this would be done at any cost, ever a false c conviction. Id.

Fortunately, notwithstanding Mr. Riese’s legal fees from Mr. Cochran at approximately

| $12,000, the jury delivered justice on February 15, 2012 at the conclusion of the trial that lasted

since February 7, 2012 and acquitted Mr. Riese on all four. coutits! But the irreparable and
severe harm to Mr, Riese’s emotional state, reputation, financial well being, and his family.

relationships, his business with. his mother Carol Riese where they coniract with the State of ©

California to care for mentally impaired adults, and more, were all shattered by the humiliation

. of this false Prosecution. Asa result, the State of California forbids Mr. Riese from having

access to the property where his mother lives and cares fo said. adults His law practice, the Del .

Norte Law Firm basically eamed almost no mote income anymore since the publicized (through.

no less than Alexander and his retinue) incident at Safeway of August 22, 2011 and he had to let -

his only staff assistant 20. because of the precipitous loss of income as 4 direct result of the

uiding hand of Alexander behind it from its: ince tion.

Me Riese has been illegally detained onno. less than 10 occasions between Ausust 2011.

and April 2012 for allegedly DUL Tn fall view of the public, he was humiliated by. being

administered Hield Sobriety Tests by law enforcement officers from the Sheriffs Office, CCPD

6.

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and the California Highway Patrol, which all except one result. in NO ARREST (or-prosecution) |

because Mr. Riese was sober. It is anticipated that the very last FST will also prove that

Alexander was behind it and was incorrectly administered. The arrest was illegal. However,

Alexanider’s obsessive campaign to get Mr, Riese at any cost simply does not stop. It was

recently discovered by Mr. Riese within the last 3 days, that Alexander stated to Mr. Riese’ s

attomey, “Marilyn Mullem, that ifhe would just go to drug rehab that all of his legal problems

would go away.

On Devetsber 3, 2011, when Mr. Riese was shopping at Walmart, he was detained and
falsely accused of both shoplifting and DUI. This was caloulated, malicious, humiliating and
continued to ruin Mr. Riese’s reputation in the County, which affected his eniotional well being

and his professional reputation to obtain clients in addition to his family and personal

relationships. Alexander was at the scene. Alexander ordered law enforcement officer to atrest

Mr, Riese. ‘They refused to arrest Mr. Riese. “And it was proven Mr. Riese choplifted nothing!

| Another false accusation generated by the one and only, erstwhile DA Jon Alexander. See

Exhibit G.

__ Alexander has been ona malicious campaign of trading information with the local tabloid

known as. the Del Notte Triplicate, including by not limited to e-mails, phone calls and weekly
meetings | between him and editor Richard Wiens and Supervisor Martha McClure. ‘For example,
‘| in the oriminal: case that Mr. Riese was recently acquitted, Alexander released to the Triplicate |
information about the impending charges before they were even filed in Court. He has done ‘the

same thing by monitoring County. Dispatch with a radio device, .i.c. a scanner, to listen for such

Teports § sO he can assist in embarrassing, hurailiating and harassing Mr. Riese. See Exhibits B, E.

| en

To

- NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES .

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Between April.25 and 29, 2012, the sheriff 5 Office c came to Mr. Riese’s home two times

inthe form of Sergeants Dubreuil and McManus based upon complaints of excessive noise |

during the day. There was an attempt to illegally detain Mr. Riese in his home and it failed. No

such noise occurred. These were false complaints This i is part of.a campaign to harass Mr.

. Riese into leaving Del Norte.

On December ai, 2011, Deputy Richard Griffin (Grit and other peace officers of the —

-Del Norte County Sherif Office executed a search wartant on Mr. Riese’s home at 131 Olivine

Way, Crescent City in Del Norte County California that violated Mr. Riese’ s civil rights,

including but not limited to his 4 Amendment rights under the United States Constitution. See

Exhibit I.

However, the affidavit of probable cause includes false s statements that Griffin, the

affiant. rade regarding Mr, Riese, including. ‘but not limited to:

1. All “common knowledge” statements i in the affidavit,
2. Claimed Tess Abad a/k./a Teresita Michelletti Mr. Riese’s virion, worked for Dr.
Donald Michelletti. In fact, she had not worked for him for approximately 10 years, but
that is nowhere in the affidavit and lends itself to what is called stale information and is .
often the basis for denying search warrants by the neutral, issuing magistrate, Hon. Judge
 Cissna. . - a
3. There was 10 investigation of Mr. Riese’s relationship with Ms. Abad: to substantiate any
statement upon which the affiant, Griffin, swore to the i issuing magistrate, Hon. Judge
Cissna. a | ee
AY There was 10 investigation ‘by the affiant, Griffin, how Mr. Riese could have obtained a

- prescription pad or form from Dr. Michelletti. Ity was all pure speculation hidden: from |

- the Hon. Judge Cissna. ..

“8

_ NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES

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tn

Uf Bow

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5, The affiant, Griffin, contrived the warrant with detective Bob Barber, Alexander and

DAG Newman in order to goona fishing expedition to intentionally. exceed the scope of .|
the warrant with premeditation in Mr. Riese’s homes for firearms they sought, The

firearms were the motivating factor behind the warrant as can be concluded by the length.
of time they spent searching for the firearms, the questions the officers asked Mr. Riese,

the amount of time they spent operating Mr. Riese’ 8 firearms, the insistence they made

‘in targeting Mr. Riese’ s gun safe and its contents from the inception of the search. There

a the warrant that the. firearms were a subject of the-search. Hence, the

affiant, Griffin, lied.to the issuing magistrate in order to gain entry: into Mr. Riese’s home

in the hope he would find illegal firearms in the home, which were never found.

. The officers seized only o one firearm, a 1911, 45 caliber pistol that ‘was loaned to him by

Sheriff Dean Wilson since late 2007 that was legally possessed by Mr. Riese. Mr. Riese
possessed it because he was 1s abiding by the terms of the loan thru that date of the search.
The firearm was seized notwithstanding that Mz. Riese did not even allegedly violate the
terms of the loan. Alexander, Griffin and Newman all sought to have Mr. Riese charged

for possessing the pistol as stolen. Fortunately, Sheriff Wilson saw thai this injustice did

_ not occur. See. Exhibit J.

Claimant seeks fair compensation from Del. Notte. County for all damages he sustained as |...
a result of all negative statements and actions 5 by its ‘employees and officials includiig but not
limited to: DA Jon Alexander, Dep. Griftn, Sgt Morris, Det. Barber, and ary: and other :
“unknown officials and employees who. participated i in these violations of law or knew of its

. ‘mowledge, and. stood silently by, i in addition to all actions by said employees and officials made
in connestion with this event-as described above, but not limited to all out tof pocket expenses

and damages, Jost wages _ present and future, lost i insurance benefits, lost retirement benefits,

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_ NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES

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and attomey’s. fees. Said damages include but are not limited to causing Mr. Riese and his.

family including ‘but not liniited to. his minor’ daughters” severe emotional harm, ruining “Mr. .

Riese’s law practice, seeking to ruin his petsonal- relationships, his business with his. mother and

to harass him into leaving Del Norté County whiere he has: lived for more than two decades.

Dated: June 1,2012° EE

_ Mordechai Pelta,
Attoriey for Claimant

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_ NOTICE OF CLAIM AGAINST PUBLIC ENTITY AND/OR PUBLIC EMPLOYEES —

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PROOF OF SERVICE

I, Michele L. Stater, declare:

Iam employed in the County of Alameda, California. I am over the age of 18 years and
not a party to the within-entitled cause; my business address is the law firm of PATTON ¢
WOLAN ¢ CARLISE Lp, located at 1999 Harrison Street, Suite 1350, Oakland, California
94612. On February 27, 2014, I caused to be served on the following parties:

DECLARATION OF CLARIZA GARCIA IN SUPPORT OF DEFENDANTS JON
ALEXANDER AND RICHARD GRIFFIN’S REPLY TO OPPOSITION TO MOTION
FOR SANCTIONS FOR FAILURE TO PAY COURT ORDERED ATTORNEY’S FEES

(by mail) on all parties in said action, in accordance with C.C.P.§1013, by placing a
true copy thereof enclosed in a sealed envelope in a designated area for outgoing
mail, addressed as set forth below. At PATTON #¢ WOLAN ¢ CARLISE LLP, mail
placed in that designated area is given the correct amount of postage and is
deposited that same day, in the ordinary course of business, in a United States
mailbox in the City of Oakland, California.

XX (by overnight delivery) I enclosed the document(s) in an envelope or package
provided by an overnight delivery carrier and addressed to the person(s) at the
address(es) below. I placed the envelope or package for collection and overnight
delivery at an office or a regularly utilized drop box of the overnight delivery
carrier.

(by personal delivery) by causing to be personally delivered (via a messenger
service) a true copy thereof to the person and at the address set forth below.

(by facsimile transmission) by transmitting said document(s) from our office
facsimile machine (510) 987-7575, to the facsimile machine number(s) shown
below. Following transmission, I received a "Transmission Report" from our fax
machine indicating that the transmission had been transmitted without error.

Attorney for Plaintiff Michael Riese:

Eric Alan Berg

Howard Churchill

Mordechai Pelta

BERG & ASSOCIATES

5000 Bechelli Lane, Suite 201
Redding, CA 96002

Tel: 650-223-5100

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Email: eric@bergslaw.com
Email: info@bergslaw.com
Email: hchurchill@bergslaw.com
Email: mpelta@bergslaw.com

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PROOF OF SERVICE

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PROOF OF SERVICE

I declare under penalty of perjury that the foregoing is true and correct under the laws of

the United States of America and that this Declaration was executed on February 27, 2014 at

Oakland, California. -
| kL AE 2
CH A. bbe ¢ L Ato

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Michele L. Stater

PROOF OF SERVICE

